              Case 10-93904-BHL-11                       Doc 1091          Filed 03/14/12       EOD 03/14/12 18:13:26             Pg 1 of 16
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                  Southern District of Indiana
 In re          Eastern Livestock Co., LLC                                                                 Case No.      10-93904
                                                                                                    ,
                                                                                   Debtor
                                                                                                           Chapter                       11




                                                      SUMMARY OF SCHEDULES - AMENDED
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF        ASSETS                 LIABILITIES                 OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1                         0.00


B - Personal Property                                     Yes             8             59,366,230.76


C - Property Claimed as Exempt                            No              0


D - Creditors Holding Secured Claims                      Yes             1                                          592,179.64


E - Creditors Holding Unsecured                           Yes             19                                          10,969.72
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             262                                   39,551,548.34
    Nonpriority Claims

G - Executory Contracts and                               Yes             6
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          No              0                                                                        N/A
    Debtor(s)

J - Current Expenditures of Individual                    No              0                                                                        N/A
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                298


                                                                    Total Assets        59,366,230.76


                                                                                     Total Liabilities          40,154,697.70




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             Case 10-93904-BHL-11                         Doc 1091        Filed 03/14/12         EOD 03/14/12 18:13:26                    Pg 2 of 16
B6B (Official Form 6B) (12/07)


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 In re         Eastern Livestock Co., LLC                                                                        Case No.       10-93904
                                                                                                     ,
                                                                                    Debtor

                                       SCHEDULE B - PERSONAL PROPERTY - AMENDED
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                        Cash on hand in depository account                                -                              0.00

2.    Checking, savings or other financial                Depository Account #7140510731; balance as of                     -                              0.00
      accounts, certificates of deposit, or               11/30/10
      shares in banks, savings and loan,                  Fifth Third Bank
      thrift, building and loan, and                      38 Fountain Square Plaza
      homestead associations, or credit                   MD 10AT63
      unions, brokerage houses, or                        Cincinnati, Ohio 45623
      cooperatives.
                                                          Operating Account #7140510673                                     -                      Unknown
                                                          Fifth Third Bank
                                                          38 Fountain Square Plaza
                                                          MD 10AT63
                                                          Cincinnati, Ohio 45623

                                                          Control Disbursement Account #7480493779                          -                              0.00
                                                          Fifth Third Bank
                                                          38 Fountain Square Plaza
                                                          MD 10AT63
                                                          Cincinnati, Ohio 45623

                                                          Field Check Control Disbursement Account                          -                              0.00
                                                          #7480493837
                                                          Fifth Third Bank
                                                          38 Fountain Square Plaza
                                                          MD 10AT63
                                                          Cincinnati, Ohio 45623

3.    Security deposits with public                       SEE ATTACHED SCHEDULE B-3                                         -                              0.00
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                X
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                       SEE ATTACHED SCHEDULE B-28 (OFFICE                                -                              0.00
      objects, antiques, stamp, coin,                     EQUIPMENT) AND B-29 (MACHINERY &
      record, tape, compact disc, and                     EQUIPMENT)
      other collections or collectibles.



                                                                                                                            Sub-Total >                  0.00
                                                                                                                (Total of this page)

  7    continuation sheets attached to the Schedule of Personal Property

Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
           Case 10-93904-BHL-11                           Doc 1091        Filed 03/14/12          EOD 03/14/12 18:13:26                   Pg 3 of 16
B6B (Official Form 6B) (12/07) - Cont.




 In re         Eastern Livestock Co., LLC                                                                        Case No.       10-93904
                                                                                                     ,
                                                                                    Debtor

                                         SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

6.    Wearing apparel.                                X

7.    Furs and jewelry.                               X

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                    Pacific Life Universal Life Insurance Policy                      -                           536.71
      Name insurance company of each                      #1A22850690
      policy and itemize surrender or                     Insured is Thomas P. Gibson
      refund value of each.                               Cash Surrender Value of $536.71
                                                          Death Benefit of $1,000,000.00

                                                          Pacific Life Universal Life Insurance Policy                      -                     174,236.21
                                                          #1A22916930
                                                          Insured is Thomas P. Gibson
                                                          Cash Surrender Value of $174,236.21
                                                          Death Benefit of $1,000,000.00

10. Annuities. Itemize and name each                  X
    issuer.

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   47.93% Share of Cattlemen's Feedlot, Ltd.                         -                      Unknown
    and unincorporated businesses.                        Through 100% membership interest in Okie Farms,
    Itemize.                                              LLC

                                                          1,000 shares of Class A shares                                    -                      Unknown
                                                          1,000 shares of Class B shares
                                                          U.S. Premium Beef, LLC
                                                          PO Box 20103
                                                          Kansas City, MO 64195

                                                          20,000 shares                                                     -                      Unknown
                                                          CBA International, Inc. I
                                                          670 Perimeter Dr.
                                                          Lexington, KY 40517




                                                                                                                            Sub-Total >        174,772.92
                                                                                                                (Total of this page)

Sheet 1 of 7          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
           Case 10-93904-BHL-11                           Doc 1091        Filed 03/14/12          EOD 03/14/12 18:13:26                   Pg 4 of 16
B6B (Official Form 6B) (12/07) - Cont.




 In re         Eastern Livestock Co., LLC                                                                        Case No.       10-93904
                                                                                                     ,
                                                                                    Debtor

                                         SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption
                                                          500 shares                                                        -                      Unknown
                                                          Wellpoint, Inc.
                                                          120 Monument Circle
                                                          Indianapolis, IN 46204

                                                          ClicRweight, LLC                                                  -                      Unknown
                                                          11708 Casey Road
                                                          Tampa, FL 33618

                                                          >Per ClicRweight, LLC Operating Agreement, 10.0%
                                                          membership interest

                                                          Spicola Tool, LLC                                                 -                      Unknown
                                                          2142 Alt 19 N, Suite C
                                                          Palm Harbor, FL 34683

                                                          Okie Farms, LLC                                                   -                      Unknown
                                                          1065 E. Main Street
                                                          Louisville, KY 40206

                                                          Owns 100% of Membership Units

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  SEE ATTACHED SCHEDULE B-16                                        -                 43,212,879.00

                                                          Note that the accounts receivable balances as
                                                          reflected were taken from the books and records of
                                                          the debtor. The records have not been adjusted to
                                                          reflect erroneous invoices or to add invoices that
                                                          should have been billed.

                                                          Trade accounts receivable                                         -                      Unknown

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.




                                                                                                                            Sub-Total >     43,212,879.00
                                                                                                                (Total of this page)

Sheet 2 of 7          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
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B6B (Official Form 6B) (12/07) - Cont.




 In re         Eastern Livestock Co., LLC                                                                        Case No.       10-93904
                                                                                                     ,
                                                                                    Debtor

                                         SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

18. Other liquidated debts owed to debtor                 Texas Brand Ribs                                                  -                      Unknown
    including tax refunds. Give particulars.              PO Box 35
                                                          Fredricksburg, IN 47120
                                                          >Amended and Restated Promissory Note with a
                                                          face amount of $1,000,000, dated 2/5/10 signed by
                                                          David A. Phillips, DJ Foods/Texas Brand Ribs, Inc.,
                                                          and Sinking Springs Land and Cattle, Inc.;
                                                          Amended and Restated Promissory Note secured
                                                          by Mortgage dated July 13, 2006 recorded in
                                                          Washington County, Indiana (Instrument
                                                          #20063339)

                                                          J & L Farms, LLC                                                  -                      Unknown
                                                          Don Garrett, individually, and as manager of J & L
                                                          Farms, LLC
                                                          45220 Highway EE
                                                          Newtown, MO 64667
                                                          >Two notes receivable

                                                          J & L Farms, LLC                                                  -                      Unknown
                                                          Don Garrett, individually, and as manager of JL
                                                          Farms of Gambier, OH
                                                          45220 Highway EE
                                                          Newtown, MO 64667
                                                          >Note receivable

                                                          Chad Schuchmann                                                   -                      Unknown
                                                          1912 Winged Foot Drive
                                                          Nixa, MO 65714
                                                          >Assignment of a two-thirds (2/3) interest in certain
                                                          property in Greene County, Missouri. Subject to
                                                          $20,181.72 semi-annual payments through 2017,
                                                          with discounted prepayment allowed.

                                                          Ed Edens                                                          -                     222,683.53
                                                          PO Box 570
                                                          Okolona MS 38860
                                                          >Note receivable

                                                          Garr Trucking                                                     -                      50,146.74
                                                          6759 Millersburg Road
                                                          Gambier, OH 43022
                                                          >Note receivable

                                                          Clarence B. Gilbert                                               -                      21,000.00
                                                          4374 Bloomfield Rd.
                                                          Taylorsville KY 40071
                                                          >Note receivable




                                                                                                                            Sub-Total >        293,830.27
                                                                                                                (Total of this page)

Sheet 3 of 7          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
           Case 10-93904-BHL-11                           Doc 1091        Filed 03/14/12          EOD 03/14/12 18:13:26                   Pg 6 of 16
B6B (Official Form 6B) (12/07) - Cont.




 In re         Eastern Livestock Co., LLC                                                                        Case No.       10-93904
                                                                                                     ,
                                                                                    Debtor

                                         SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption
                                                          R & R Farms                                                       -                        6,000.00
                                                          >Note receivable

                                                          Billy Carver                                                      -                        2,696.75
                                                          >Note receivable

                                                          Buddy Jenkins                                                     -                        1,608.80
                                                          >Note receivable

                                                          Diesel Dawg Enterprises                                           -                           750.00
                                                          >Note receivable

                                                          R & T Trucking                                                    -                           500.00
                                                          >Note receivable

                                                          Gene Stoops                                                       -                      Unknown
                                                          9919 S. Friendly Grove Church Road
                                                          Lewis, IN 47858
                                                          >Note receivable (undated Promissory Note with a
                                                          face amount of $234,580.56)

                                                          Thomas P. Gibson                                                  -                  2,653,522.98
                                                          7536 Tandy Road
                                                          Lanesville, IN 47136
                                                          >Note receivable

                                                          Crow Hollow, LLC                                                  -                     363,485.23
                                                          3900 County Road 23
                                                          Hedley, TX 79237
                                                          >Note receivable

                                                          ECC/Olim                                                          -                  1,204,635.00
                                                          >Note receivable

                                                          East-West Trucking Co., LLC                                       -                     580,441.95
                                                          135 W. Market Street
                                                          New Albany, IN 47150
                                                          >Note receivable

                                                          University Woods Apartments                                       -                     402,708.17
                                                          >Note receivable

                                                          West Kentucky Livestock Market, LLC                               -                      35,399.05
                                                          1781 Highway 60 East
                                                          Marion, KY 42064
                                                          >Note receivable




                                                                                                                            Sub-Total >      5,251,747.93
                                                                                                                (Total of this page)

Sheet 4 of 7          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
           Case 10-93904-BHL-11                           Doc 1091        Filed 03/14/12          EOD 03/14/12 18:13:26                   Pg 7 of 16
B6B (Official Form 6B) (12/07) - Cont.




 In re         Eastern Livestock Co., LLC                                                                        Case No.       10-93904
                                                                                                     ,
                                                                                    Debtor

                                         SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption
                                                          K&S Livestock                                                     -                      Unknown
                                                          P.O. Box 124
                                                          Lott, TX 76656
                                                          >Note receivable

                                                          Steve Willonberg and K&S Livestock                                -                      Unknown
                                                          PO Box 124
                                                          Lott, TX 76656
                                                          >Note receivable; (Promissory Note dated 9/4/08
                                                          with a face amount of $214,000.00)

                                                          TJG Corporation                                                   -                     294,173.00
                                                          1065 E. Main Street
                                                          Louisville, KY 40206
                                                          >Note receivable (per organizational documents,
                                                          TJG Corporation was dissolved 9/25/02)

                                                          Belleau Woods                                                     -                      12,000.00
                                                          >Note receivable

                                                          Hurstbourne Landings                                              -                     830,000.00
                                                          >Note receivable

                                                          Providence Property Management - Health                           -                      67,830.62
                                                          Insurance
                                                          >Note receivable

                                                          Providence Property Management - American                         -                     154,515.58
                                                          Express
                                                          >Note receivable

                                                          Sheree Baumgart                                                   -                        3,097.17
                                                          >Note receivable

                                                          Animal Profiling International                                    -                      50,500.00
                                                          >Note receivable

                                                          James Ed Edens                                                    -                     320,583.00
                                                          >Note receivable

                                                          Lance Mason                                                       -                     271,140.74
                                                          Route 1 Box 217
                                                          Ringwood, OK 73768
                                                          >Note receivable

                                                          Chad Schuchmann                                                   -                     105,065.08
                                                          1912 Winged Foot Drive
                                                          Nixa, MO 65714
                                                          >Promissory Note dated 10/1/05 secured by Deed of
                                                          Trust

                                                                                                                            Sub-Total >      2,108,905.19
                                                                                                                (Total of this page)

Sheet 5 of 7          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Eastern Livestock Co., LLC                                                                        Case No.       10-93904
                                                                                                     ,
                                                                                    Debtor

                                         SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     Shawn Breitsprecher, Breitsprecher Livestock, and                 -                     922,597.45
    claims of every nature, including                     2B Cattle
    tax refunds, counterclaims of the                     102 South Mary Street
    debtor, and rights to setoff claims.                  PO Box 55
    Give estimated value of each.                         Ossian, IA 52161
                                                          >Note receivable

22. Patents, copyrights, and other                        Rocking E brand                                                   -                      Unknown
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    Mack truck, 2007 6E trailers (unknown location)                   -                      Unknown
    other vehicles and accessories.

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                    SEE ATTACHED SCHEDULE B-28 (OFFICE                                -                      Unknown
    supplies.                                             EQUIPMENT) AND B-29 (MACHINERY &
                                                          EQUIPMENT)

29. Machinery, fixtures, equipment, and                   SEE ATTACHED SCHEDULE B-28 (OFFICE                                -                      Unknown
    supplies used in business.                            EQUIPMENT) AND B-29 (MACHINERY &
                                                          EQUIPMENT)



                                                                                                                            Sub-Total >        922,597.45
                                                                                                                (Total of this page)

Sheet 6 of 7          continuation sheets attached
to the Schedule of Personal Property

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           Case 10-93904-BHL-11                           Doc 1091        Filed 03/14/12          EOD 03/14/12 18:13:26                    Pg 9 of 16
B6B (Official Form 6B) (12/07) - Cont.




 In re         Eastern Livestock Co., LLC                                                                        Case No.        10-93904
                                                                                                     ,
                                                                                    Debtor

                                         SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

30. Inventory.                                            SEE ATTACHED SCHEDULE B-30 FOR SUMMARY                             -                 7,401,498.00
                                                          INVENTORY REPORT

                                                          Note that the inventory balances as reflected were
                                                          taken from the books and records of the Debtor.
                                                          Adjustments for certain known errors have been
                                                          made. Balances are subject to change.

31. Animals.                                          X

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind                   Debtor may have numerous causes of action                          -                     Unknown
    not already listed. Itemize.                          against numerous parties related to fraudulent
                                                          transfers of assets and contract interference that
                                                          are currently under investigation.




                                                                                                                            Sub-Total >       7,401,498.00
                                                                                                                (Total of this page)
                                                                                                                                 Total >     59,366,230.76
Sheet 7 of 7          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)
Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
 Case 10-93904-BHL-11         Doc 1091       Filed 03/14/12   EOD 03/14/12 18:13:26   Pg 10 of 16
                                                                                      Schedule B‐16

Eastern Livestock Co., LLC
Bankruptcy Case #10-93904
Southern District of Indiana
Accounts Receivable as of December 6, 2010

                Customer                           Balance at 12/6/10
AG PARTNERS                                                    51,779
AGRI BEEF COMPANY                                            233,097
ALLEN BARRY                                                  118,546
AMOS KROPF                                                      1,860
ANDERSON CATTLE COMPANY                                        57,660
ANDY LOLLEY                                                    36,086
ARROWHEAD CATTLE CO                                          258,652
ATKINSON LIVESTOCK MARK                                    2,577,880
BACA COUNTY FEED YARD                                      1,079,766
BALSY HAVEN DAIRY                                              48,246
BAR K CATTLE                                                   54,240
BART HOUSER                                                       453
BEEF MARKETING GROUP CO                                    1,131,372
BELLAR FEEDLOTS, INC.                                        100,000
BEN DELWORTH                                                    1,913
BIG DRIVE CATTLE LLC                                           99,763
BILL CHASE                                                   293,066
BILL COURTER                                                 158,117
BILL EBERLE                                                  273,202
BLUE GRASS SOUTH (JIM AKERS)                                    4,556
BLUE GRASS STOCKYARDS C                                         2,545
BLUEGRASS STOCKYARDS EA                                         7,722
BOB FOOTE                                                  1,671,097
BRANDON JONES                                                  73,616
BRANDON MAGGARD                                                21,440
BRIAN LOVELL                                                      267
BROUGHTON CATTLE, INC.                                          2,778
BRYAN GORDER                                                    1,532
BRYAN MOSIER                                                 168,117
BUD HEINE                                                    170,066
BUFFALO FEEDERS                                                 7,255
C & M CATTLE                                                 490,662
CACTUS FEEDERS, INC.                                       2,976,869
CATTLE EMPIRE                                                  11,071
CHAD BAKER                                                     56,200
CHAD HOUCK (FLYING M RANCH)                                    23,526
CHARLES W. ANDERSON                                          249,407



Page 1 of 5                                                                           Schedule B‐16
 Case 10-93904-BHL-11         Doc 1091       Filed 03/14/12   EOD 03/14/12 18:13:26   Pg 11 of 16
                                                                                      Schedule B‐16

Eastern Livestock Co., LLC
Bankruptcy Case #10-93904
Southern District of Indiana
Accounts Receivable as of December 6, 2010

                  Customer                         Balance at 12/6/10
CLAY J. CARTER                                                 69,902
CLIFFORD OLDHAM                                              181,938
COLTON DOWNEY                                                     471
COREY KAY                                                    133,575
DAVE WINGO                                                     53,321
DAVID HILBERT                                                123,465
DAVID PETERSON                                               112,756
DEAN CLUCK CATTLE CO.                                          52,255
DEMAIO FARM & RANCH                                          283,146
DENNIS JONES                                                      617
DIAMOND CATTLE FEEDERS                                          8,442
DIMMITT FEEDYARD, L.L.C                                        67,888
DOUGLAS D. SUNDERMAN                                         685,795
DR. JAMES M. BOYER                                              7,548
DS FARMS                                                        8,360
DUDLEY WALDROP                                                  6,667
E 4 CATTLE CO                                                216,167
ECCO I LLC                                                   212,128
ED EDENS FARMS                                                 12,513
ED EDENS IV                                                  140,111
FAITH CATTLE CO. (CHAD HOUCK)                                123,480
FELLER & COMPANY                                               58,833
FIVE RIVERS                                                       208
FIVE RIVERS (CIMARRON FEEDERS, INC.)                         318,756
FIVE RIVERS (GILCREST)                                       520,888
FIVE RIVERS (KUNER)                                          514,231
FIVE RIVERS (MALTA)                                          259,931
FIVE RIVERS (XIT FEEDERS)                                    265,622
FIVE RIVERS (YUMA)                                         2,490,120
FRANCIS J. MADISON                                           165,346
FRED SMITH                                                   110,457
FRIONA INDUSTRIES, L.P.                                    2,554,262
FRONTERA FEEDYARD                                            147,211
GANADO, INC                                                  227,966
GARY CARTER                                                    68,696
GARY LAIB                                                    104,917
GARY ROBINSON                                                  19,292



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Eastern Livestock Co., LLC
Bankruptcy Case #10-93904
Southern District of Indiana
Accounts Receivable as of December 6, 2010

                 Customer                          Balance at 12/6/10
GARY SEALS                                                   363,019
GIBSON FARMS, L.L.C.                                           61,180
GLOVER FARMS                                                 414,614
H H H CATTLE CO                                              711,825
HARLAN FEEDERS, INC.                                           97,869
HARRY SHELTON                                                  94,766
HENRY C HITCH FEEDLOT,I                                         8,747
HERITAGE FEEDERS                                             626,745
HIGH PLAINS FEEDLOT                                            49,368
HOHENBERGER CATTLE                                           568,973
J & S FEEDLOTS INC.                                            59,613
J BAR H CATTLE                                                 52,935
J T NUCKOLS                                                  355,605
JACOB LARSON                                                   14,548
JAKE JOHNS                                                        901
JAMES ED EDENS & LEE ED                                      167,421
JAMES PERSCHBACHER                                           392,551
JANOUSEK FARMS                                                  9,675
JEFFREY MADISON                                                50,596
JEREMY COFFEY                                                   6,531
JERRY SHELTON                                                135,908
JERRY THOMPSON                                               388,215
JIM ROY WELLS CATTLE                                            1,513
JIM WOODS                                                    275,970
JOE SCHMUCKER                                                  15,535
JOE THOMPSON                                                 250,026
JOHN ROSS                                                    108,131
JON & JACK TOLLESON                                            54,540
JVCO, LLC                                                    181,882
KEITH VARNER                                                 270,140
KELLY HOSTETLER                                                 1,950
KENNY OGDEN                                                  524,001
KENT DONICA                                                    47,357
KEVIN SMITH                                                  156,315
KIRBY JOHNSON                                                  17,621
KIRKLAND FEEDYARDS INC.                                        47,462
KUENNING & SON                                               171,576



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Eastern Livestock Co., LLC
Bankruptcy Case #10-93904
Southern District of Indiana
Accounts Receivable as of December 6, 2010

                 Customer                          Balance at 12/6/10
LANCE THORNBERRY                                               63,484
LARRY OGLE                                                     64,211
LEN MILLER                                                   148,173
LEROY SAYLOR                                                 135,927
LHL PARTNERSHIP                                              133,885
LUEKEN DAIRY FARM INC                                          83,284
M.Y.C.                                                       220,715
MAMOT FEEDYARD TK. INC.                                        32,878
MARK FREEMAN                                                 160,106
MARK FREEMAN IV                                              104,913
MASON COUNTY FEEDYARD                                          50,583
MATTHEW CATES                                                  23,037
MIKE MASSEY                                                  935,652
MITCH WORRELL                                                535,572
MORRIS STOCK FARM                                              25,294
MULL FARMS & FEEDING                                         177,201
NU TECHNOLOGIES                                              586,000
OAKLAKE CATTLE COMPANY                                       132,102
P & R LIVESTOCK                                              519,095
PACO FEED YARDS INC.                                         117,191
PENNER CATTLE                                                  60,402
PESETSKY LAND & CATTLE                                       166,934
R M LIVESTOCK                                                  30,869
RALPH HOODENPYLE                                             680,100
RANCHLAND LIVESTOCK AUCTION                                    17,984
RICK BEARD                                                   106,492
RITTER FEEDYARD                                                29,228
ROBERT DOBBS                                                 228,917
ROBERT NICHOLS                                             1,638,574
RON SHEPHARD                                                 219,101
RONALD STAHL                                                   99,361
RONNIE REIMER FEEDYARD                                         80,136
ROYAL BEEF                                                   552,820
RUSH CREEK RANCH                                             178,233
RUSTY RAT CATTLE CO.                                           15,710
S & S CATTLE /ROYCE STALLCUP(CHAD
HOUCK)                                                        18,789
SAM COUNTISS                                                  31,237

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Eastern Livestock Co., LLC
Bankruptcy Case #10-93904
Southern District of Indiana
Accounts Receivable as of December 6, 2010

                Customer                               Balance at 12/6/10
SAM FOUSEK                                                       117,030
SCHALLER BROTHERS                                                  63,673
SCOTT GIBSON                                                      (11,387)
SCOTT KEACH                                                           203
SCOTT WEEKS                                                        25,120
SEALY AND SON                                                       9,145
SHANE STIERWALT                                                    65,616
STANLEY BROUGHTON                                                   9,455
STEPHEN DILKS                                                    274,126
STEVE FLETCHER                                                   333,295
STEVE KRAJICEK                                                   380,487
STIERWALT RANCH                                                  783,146
SUPREME CATTLE FEEDERS                                         1,095,579
TERRY BABER                                                        66,215
THOMAS BROTHERS                                                        58
TIM COOK                                                              740
TIM MAY                                                          308,422
TODD ROSENBAUM                                                   207,216
TOM FREEMAN                                                        58,269
TOM HERRMANN                                                       23,027
TRAVIS DICKE                                                     353,172
TRIANGLE CALF GROWERS (KIRKLAND
FEEDERS)(ED EDENS)                                                 44,221
VERNON INMAN                                                       57,792
WILLIAM BUSH                                                      189,826
WILLIAMS FARM                                                      39,583
WILLIE DOWNS LIVESTOCK INC                                          6,428
WINTER LIVESTOCK                                                  710,900
Accounts Receivable at December 6, 2012                        43,212,879

Note that these balances are from the books and records of the Debtor,
adjusted based on information found during the review of the books and
records. There is no assurance that we have found all appropriate
adjustments. This schedule is subject to further revision.




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Eastern Livestock Co., LLC
Bankruptcy Case #10-93904
Southern District of Indiana
Inventory as of December 6, 2010



                                         Value* of Inventory
                                          as of December 6,
                BRANCH                          2010
                   Marion                       1,035,953.64
                K. Plowman                         59,131.24
                  V. Inman                         57,791.94
                  M. Haiar                        135,995.84
                  B. Chase                               ‐
                 M. Wilson                               ‐
                 Edmonton                         290,000.26
                 R. Nichols                     5,719,683.17
                 Lexington                        220,216.54
                  G. Seals                               ‐
                  Oaklake                         131,370.64
                  Ed Edens                      5,533,448.53
              D. Beauchamp                          8,217.73
                  J. Wolfe                               ‐
              C. Schuchmann                     1,103,794.95
                New Albany                     20,401,593.54
                   S. Dean                               ‐
                  R. Brown                          3,459.47
                 S. Gibson                        541,179.14
                                               35,241,836.63
Less: Unsupported                             (23,604,681.42)
Less: Invoiced                                 (4,235,657.55)
Ending Inventory                                7,401,497.66


* Realizable value unknown




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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                          United States Bankruptcy Court
                                                                  Southern District of Indiana
 In re      Eastern Livestock Co., LLC                                                                   Case No.   10-93904
                                                                                   Debtor(s)             Chapter    11




                                     DECLARATION CONCERNING DEBTOR'S SCHEDULES

              DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP




                     I, the Trustee of the corporation named as debtor in this case, declare under penalty of perjury that I have
            read the foregoing summary and schedules, consisting of 15 sheets, and that they are true and correct to the best
            of my knowledge, information, and belief.




 Date March 14, 2012                                                   Signature   /s/ James A. Knauer
                                                                                   James A. Knauer
                                                                                   Trustee*

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.

*These Schedules of Assets and Liabilities ("Schedules") and Statement of Financial Affairs ("SOFA")
were prepared based upon the books and records of Eastern Livestock Co., LLC ("ELC" or "Debtor")
that the Trustee and his representatives have been able to locate. The Trustee cannot vouch for the
completeness and/or accuracy of the ELC books and records located to date. Therefore, information
recorded in these Schedules and SOFA may be inaccurate or incomplete and may suffer from
material omissions. In addition, nothing on these Schedules or SOFA is, or is intended to be, an
admission of the Debtor’s estate or the Trustee and all data reported herein remains subject to further
review, correction, or re-statement.




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